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AO 466A (Rev. 12/09) Waiver of Rule 5 & 5.1 Hearings (Complaint or Indictment) EULED JIN ODEN COURT

U.S.B.C. Atlanta

UNITED STATES DISTRICT COURT

for the MAY 24 2021
Northern District of Georgia

 

JAMES TEN, Cletk
By:
United States of America Depfity Clerk
Vv. Case No. 1:21-MJ-533-AJB
DAVID PANBEHCHI
Defendant ) Charging District’s Case No. 21-3067-01-CR-S-BCW
)

WAIVER OF RULE5 & 5.1 HEARINGS
(Complaint or Indictment)

I understand that I have been charged in another district, the (name of other court) _Western District of Missouri

 

I have been informed of the charges and of my rights to:

(1)
(2)
(3)
(4)

(5)
(6)

retain counsel or request the assignment of counsel if | am unable to retain counsel;

an identity hearing to determine whether I am the person named in the charges;

production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;

a preliminary hearing within 14 days of my first appearance if I am in custody and 21 days otherwise —
unless I am indicted — to determine whether there is probable cause to believe that an offense has

been committed;

a hearing on any motion by the government for detention;

request transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

I agree to waive my right(s) to:

a” an identity hearing and production of the warrant.
V2 preliminary hearing.

O
O

Date:

Approved:

a detention hearing.

an identity hearing, production of the warrant, and any preliminary or detention hearing to which I may be
entitled in this district. I request that those hearings be held in the prosecuting district, at a time set by that

 

 

court.
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US. Magis late Judge () Signature of defendant's attorney
Uy id kon bebch'

Printed name of defendant's attorney

 

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